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 5
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 6 Michelle Maguire individually and as Mother General Guardian
   Of Derek Maguire
 7

 8                             UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
10

11                                         .
     MICHELLE MAGUIRE         Case No.:
12   INDIVIDUALLY AND AS
13
     MOTHER GENERAL GUARDIAN"
     OF DEREK MAGUIRE         PLAINTIFFS' COMPLAINT
14
                  Plaintiff,               . JULY TRIAL DEMANDED
15
           vs.                             .
16
     WAL-MART STORES, INC.,
17                                         .
                  Defendants.
18

19
           Plaintiff Michelle Maguire and Plaintiff Derek Maguire, pursuant to Fed. R.
20
     Civ. P. l 7(c)(l)(A), by and through their undersigned counsel, bring this Complain
21
     for damages against Defendant Wal-Mart Stores, Inc., (hereinafter, "Wal-Mart" o
22
     "Defendant") and in support state the following:
23
           1.     This is an action brought on behalf of Plaintiffs, Michelle Maguir
24
     (hereinafter, "Plaintiff Mother"), the mother and guardian of Derek Maguir
25
     (hereinafter, "Plaintiff Child"), a minor, arising out of Defendant's failure to wa
26
     about the dangers of prenatal exposure to
27
28



                                       PLAINTIFFS" COMPLAINT
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1    Paracetamol, also lmown as Acetaminophen (hereinafter "APAP") and its propensi
2    to cause autism spectrum disorder ("ASD") in children. As a result, Plaintiff Chil
3    suffers from ASD, and Plaintiffs have endured significant pain and suffering
4 emotional distress, lost wages and earning capacity, and diminished quality of life.
5    Plaintiffs respectfully seek all damages to which they may be legally entitled.
6

7                              STATEMENT OF PARTIES
8          2.     At all material times Plaintiffs have been citizens and residents o
9     ontra Costa County, California and the United States.
10         3.     Wal-Mart is incorporated in Delaware, with its principal place o
11   business in Arkansas.
12         4.     Wal-Mart 1s a multinational company involved in the research
13   development, testing, manufacture, labeling, production, marketing, promotion
14   and/or sale of APAP through its over-the-counter store brand, "Equate" (hereinafter
15   the "APAP Products").
16         5.     Wal-Mart is individually, and jointly and severally liable to Plaintiff:
17   for damages they suffered, arising from Defendant's design, manufacture
18   marketing, labeling, distribution, sale, and placement of the defective AP
19   Products into the market, effectuated directly and indirectly through its agents
20   servants, employees, and/or owners, all acting within the course and scope of it
21   agencies, services, employments, and/or ownership.
22          6.    Wal-Mart is vicariously liable for the acts and/or omissions of it
23   employees and/or agents, who were at all material times acting on behalf of Wal
24   Mart and within the scope of its employment or agency.
25   III
26   III
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                                       PLAINTIFFS" COMPLAINT
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 1                              VENUE AND JURISDICTION
2           7.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1332(a),
3 based on complete diversity of citizenship between Plaintiffs and Defendant. See
4    supra ,r,r 3-4.
 5          8.     The amount in controversy exceeds $75,000.
 6          9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because th
 7   events or omissions giving rise to Plaintiffs' claims occurred in this judicial district
 8          10.     Defendant has and continues to conduct substantial business in the Stat
 9   of California and in this District, distributes the APAP Products in this District
1o receives substantial compensation and profits from sales of the APAP Products i
11   this District, and has made material omissions and misrepresentations and breache
12   of warranties in this District, so as to subject Defendant to in personam jurisdictio
13   in this District.
14          11.     Defendant is registered to transact business in California.
15                          FACTS COMMON TO ALL COUNTS
16
17                       APAP Is Marketed as the Safe Pain Reliever
18               for Pregnant Women, but APAP Can Cause ASD in Children
19          12.     APAP is widely used by pregnant women to relieve pain during the
20   term of their pregnancy.
21          13.     APAP was initially discovered in the late 1800's.
22          14.     APAP was introduced to the US market in 1955 as the first aspirin-
23   free pain reliever. APAP was originally marketed and sold as a product to reduce
24   fever in children, packaged like a red fire truck with the slogan, "for little
25   hotheads."
26          15.     APAP is sold in billions of units annually in North America alone.
27          16.     APAP has long been marketed as the safest, and the only appropriate
28   over-the counter pain relief drug on the market for pregnant women.


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                                         PLAINTIFFS' COMPLAINT
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 1          17.   More than 65% of women in the United States use APAP durin
2    pregnancy.
3           18.    Based upon information and belief, a majority of women who us
4    APAP during pregnancy do so electively for the treatment of headaches, muscl
 5   pain, back pain, and infection.
6           19.    These pregnant women electively choose to take APAP becaus
 7   Defendant has marketed the APAP Products as a safe pain reliever for pregnan
 8 women.
 9          20.    However, increasing experimental and epidemiological research show
1O that prenatal exposure to APAP alters fetal development, which significant!
11   increases the risks of neurodevelopmental disorders, including but not limited to
12   ASD and attention-deficit/hyperactivity disorder ("ADHD").
13          21.    Undisturbed development of the human brain in utero is vital to th
14 health and wellness of a child's development. The human brain is vulnerable an
15   extremely sensitive in utero. During this sensitive time-period in utero, certa·
16   chemicals have been found to cause permanent brain injury at low exposure levels.
17          22.    Once ingested by the mother, APAP is known to readily cross th
18   placenta and blood-brain barrier.
19          23.    ASD is a serious neurological and developmental disorder that affect
20   how people interact with others, communicate, learn, and behave.
21          24.    There are three functional levels of ASD, with Level 1
22   support with activities of daily living, Level 2 requiring substantial support wi
23   activities of daily living, and Level 3 requiring very substantial support wi
24   activities of daily living.
25   III
26   III
27   III
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                                         PLAINTIFFS' COMPLAINT
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1             25.   Treatments for ASD include behavioral management therapy,
2    cognitive behavior therapy, joint attention therapies, medications, occupational
3    therapy, physical therapy, social skill training, and speech-language therapy.
4    Treatment for ASD lasts a lifetime, as there is no cure.
 5            26.   ADHD is a chronic neurodevelopmental disorder resulting in attentio
6 difficulty, hyperactivity, and impulsiveness.
 7            27.   In or around 2018, the Center for Disease Control and Preventio
 8   ("CDC") found that 1 in 44 (2.3%) 8-year-old children have been diagnosed wi
 9 ASD.
10            28.   This represents an increase from a prior CDC finding that 1 in 68 U.S.
11   children born in 2002 have ASD, which already represented a more than a 100%
12   increase compared with children born a decade prior.
13            29.   As of 2019, 8.8% of children had been diagnosed with ADHD, or
14   roughly 325,000 children per year.
15            30.   Parental awareness and changes in diagnoses do not account for the
16   rapid rise in these diagnoses.
17            31.   Rather, neurotic exposures, such as prenatal APAP exposure, explain
18   a trending increase in diagnosis.
19            32.   For years, the scientific community has published studies showing
20   that prenatal ingestion of APAP can cause ASD and ADHD.
21            33.   For instance, since 2013, there have been six European birth cohort
22   studies, examining over 70,000 mother-child pairs, showing the association
23   between prenatal use of APAP and ASD and ADHD.
24            34.   At this time, the overall body of scientific evidence shows that
25   prenatal use of APAP can cause ASD.
26   / //

27   ///
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                                         PLAINTIFFS'COMPLAINT
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1          35.   During all relevant times herein, Defendant was engaged in the busines
2    of manufacturing and selling the APAP Products in the United States, and the weigh
3 of the scientific evidence available showed prenatal exposure to APAP significant!
4    increases the risk of neurodevelopmental disorders in children exposed to AP
5    prenatally, including but not limited to ASD.
6          36.    The scientific evidence regarding the risks of in utero exposure o
7 APAP was available to Defendant, and Defendant knew or should have known tha
 8 prenatal use of APAP can cause ASD.
 9         37.    Based on information and belief, Defendant has concealed the prenata
10   APAP exposure-neurodevelopmental link from consumers, like Plaintiff Mother,·
11   part by not reporting the link to the FDA, which relies on drug manufacturers t
12   bring new information about a drug to the agency's attention.
13         38.    Moreover, despite knowing that prenatal use of APAP can cause ASD
14   Defendant continues to market the APAP Products as the safe pain reliever fo
15   pregnant women, making mothers believe they are choosing a safe drug for eve
16   minor aches, pains, and headaches.
17   Plaintiff Mother Took APAP Products while
18   Pregnant, and It Caused ASD in Plaintiff Child
19         39.    Plaintiff Mother was pregnant with Plaintiff Child from March of 199
20   to November 1999.
21         40.    Throughout Plaintiff Mother's pregnancy with Plaintiff Child, Plainti
22   Mother electively took the APAP Products for pain and headaches.
23         41.    During the third trimester of Plaintiff Mother's pregnancy, Plaintif
24   Mother took the APAP Products three times a day for pain relief.
25         42.    Plaintiff Mother believed it was safe for her to take the APAP Product
26   during her pregnancy.
27         43.    There is no warnmg on the APAP Products' labels specificall
28   addressing the risks of ASD if a mother ingests APAP while pregnant.


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                                      PLAINTIFFS' COMPLAINT
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1            44.    Had Plaintiff Mother known of the risk of taking APAP while pregnant
2 specifically, that it could cause ASD in her child, she would not have taken the AP
3    Products.
4            45.    Plaintiff Child was born on November 15, 1999.
5            46.    Plaintiff Mother is a trained specialist in ASD.
6            47.    When Plaintiff Child was one year old, Plaintiff Mother started t
7    notice that Plaintiff Child had issues with eye contact and with his verbal skills.
 8           48.    When Plaintiff Child was ten or twelve years old, Plaintiff Child w
 9   diagnosed with ASD by the University of California, San Francisco Medical Center
10           49.    Plaintiff Child's ASD has been incredibly challenging for Plaintif
11   Child and Plaintiff Mother, as well as their entire family.
12           50.    Although Plaintiff Child is twenty-two years old, Plaintiff Child stil
13   requires almost constant assistance from Plaintiff Mother.
14           51.    Plaintiff Child has issues focusing and completing simple tasks.
15           52.    Plaintiff Child is currently enrolled in college, but he can only take on
16   class a semester.
17           53.    Plaintiff Mother has to assist Plaintiff Child with his classes, manag
18   Plaintiff Child's time, and advise him with work.
19           54.    Plaintiff Mother has to remind Plaintiff Child daily to complet
20   everyday tasks.
21           5 5.   Plaintiff Mother worries about Plaintiff Child's future and whether h
22   will be able to maintain a job.
23           56.    Plaintiff Child's ASD has placed an incredible strain on the family an
24   their intrafamily relationships.
25   III
26   III
27   III
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                                         PLAINTIFFS' COMPLAINT
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 1          ESTOPPEL AND TOLLING OF STATUTE OF LIMITATIONS
2          57.     Due to Defendant's acts of fraudulent concealment, Defendant          1

 3   estopped from relying on any statutes of linlitations or repose. Such acts includ
4    Defendant's intentional concealment from Plaintiff Mother and the general publi
 5   that APAP is defective when there is prenatal exposure, while continuing to marke
 6 the APAP Products with the adverse effects described in this Complaint.
 7         58.     Given Defendant's affirmative actions of concealment by failing t
 8   disclose information about the defects known to them but not the public
 9   information over which Defendant had exclusive control-and because Plaintif
10   Mother could not reasonably have known that the APAP Products were defective
11   Defendant is estopped from relying on any statutes oflimitations that might overwis
12   be applicable to the claims asserted in this Complaint.
13               COUNT I: STRICT LIABILITY - FAILURE TOWARN
14         59.     Plaintiffs incorporate by reference the allegations in all prior
15   paragraphs.
16         60.     At the time of Plaintiffs' injuries, the APAP Products were defectiv
17   and unreasonably dangerous to foreseeable consumers, including Plaintiff Mother
18   because they lacked an adequate warning.
19         61.     At all relevant times, Defendant engaged in the business of testing
20   developing, designing, manufacturing, marketing, labeling, selling, distributing, an
21   promoting the APAP Products, which were defective and unreasonably dangerou
22   to consumers, including Plaintiff Mother, because they did not contain adequat
23   warnings or instructions concerning the dangerous characteristics of ingesting AP
24   during pregnancy. These actions were under the ultinlate control and supervision o
25   Defendant. At all relevant times, Defendant registered, researched, manufactured
26   distributed, marketed, labeled, promoted, and sold the APAP Products within thi
27   District and aimed the marketing at the ultimate consumer. Defendant was at al
28


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 1   relevant times involved in the retail and promotion of the APAP Products markete
 2   and sold in this District.
 3          62.   Defendant had a duty to warn of the risks associated with the use of th
 4   APAP products.
 5          63.   The APAP Products ingested by Plaintiff Mother during pregnanc
6 were in the same or substantially similar condition as they were when they le
 7   possession of the Defendant.
 8          64.    Defendant expected and intended the APAP Products to reach user
 9   such as Plaintiff Mother in the condition in which the APAP Products were sold.
10          65.    Plaintiff Mother did not materially alter the APAP Products prior t
11   ingestion.
12          66.    Plaintiff Mother ingested the APAP Products as indicated on the AP
13   Products' labels.
14          67.    Plaintiff Mother was unaware of the defects and dangers of the APA
15   Products and was unaware that prenatal exposure increases the risk of brain an
16   behavioral development of children in utero.
17          68.    The labels on the APAP Products to consumers lack any wamin
18   specific to pregnant women. The information that Defendant did provide o
19   communicate failed to contain relevant warnings, hazards, and precautions tha
20   would have enabled consumers such as Plaintiff Mother to utilize the products safel
21   and with adequate protection, or decide to not ingest the APAP Products at all.
22          69.    This alleged failure to warn is not limited to the information contained
23   on the APAP Products' labeling. Defendant was able, in accord with federal law,
24   to comply with relevant state law by disclosing the known risks associated with
25   APAP through other nonlabeling mediums, i.e., promotion, advertisements, public
26   service announcements, and/or public information sources. But Defendant did not
27   disclose these known risks through any medium.
28


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1          70.   At all relevant times, Defendant had a duty to properly test, develop .
2    design, manufacture, inspect, package, label, market, promote, sell, distribute
3    maintain, and supply the APAP Products; provide proper warnings for the AP
4    Products; and take such steps as necessary to ensure the APAP Products did no
5 cause users and consumers, and their children, to suffer from unreasonable an
6 dangerous risks. Defendant had a continuing duty to warn Plaintiff Mother o
7    dangers associated with APAP. Defendant, as a manufacturer, seller, and/o
 8   distributor of pharmaceutical medication, is held to the knowledge of an expert i
 9 the field.
10         71.    At the time of manufacture, Defendant could have provided th
11   warnings or instructions regarding the full and complete risks of the APAP Produc
12   because Defendant knew or should have known of the unreasonable risks of AS
13   associated with prenatal exposure to and/or the use of such products.
14         72.    At all relevant times, Defendant failed and deliberately refused t
15   investigate, study, test, or promote the safety of the APAP Products, or to minimiz
16   the dangers to consumers of the APAP Products and to those who would foreseeabl
17   use or be harmed by the APAP Products, including Plaintiffs.
18         73.    Defendant failed to adequately warn consumers, like Plaintiff Mother
19   about the significant increased risk of neurodevelopmental disorders in childre
20   exposed to APAP prenatally, including but not limited to ASD.
21         74.    Defendant failed to adequately inform reasonably foreseeabl
22   consumers, like Plaintiff Mother, of the proper usage of the APAP Products.
23         75.    Even though Defendant knew or should have known that APAP pose
24   a grave risk of harm to Plaintiff Child, Defendant failed to exercise reasonable car
25   to warn of the dangerous risks associated with use and prenatal exposure.
26         76.    Plaintiff Mother was exposed to the APAP Products without knowledg
27   of their dangerous characteristics.
28   ///


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                                       PLAINllFFS'COMPLAJNT
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1          77.   At all relevant times, Plaintiff Mother used and/or was exposed to th
2    use of the APAP Products while using them for their intended or reasonabl
3    foreseeable purposes, without knowledge of their dangerous characteristics.
4          78.   Plaintiff Mother could not have reasonably discovered the defects an
5    risks associated with the APAP Products prior to or at the time of Plaintif
6    consuming APAP. Plaintiff Mother relied upon the skill, superior knowledge, an
7 judgment of Defendant to know about and disclose serious health risks associate
 8 with using the APAP Products.
 9         79.   If Plaintiff Mother had been properly warned of the defects, dangers
1o   and risks associated with prenatal exposure to APAP, Plaintiff Mother would hav
11   utilized the APAP Products safely and with adequate protection, or would hav
12   decided to not ingest the APAP Products at all.
13         80.    Defendant is liable to Plaintiffs for injuries caused by Defendant'
14   negligent or willful failure, as described above, to provide adequate warnings o
15   other relevant information and data regarding the appropriate use of the AP
16   Products and the risks associated with the use of APAP.
17         81.    As a direct and proximate result of Defendant placing defective AP
18   Products into the stream of commerce, and Plaintiff Mother's ingestion of the AP
19   Products during pregnancy, Plaintiff Child was exposed to APAP prenatally, causin
20   him to develop ASD.
21         82.    As a direct and proximate result of Defendant placing defective AP
22   Products into the stream of commerce, Plaintiffs have suffered permanent injuries
23   significant pain and suffering, emotional distress, lost wages and earning capacity
24   and diminished quality oflife. Plaintiffs respectfully seek all damages to which the
25   may be legally entitled.
26   III
27   III
28   III


                                               II
                                      PLAINTIFFS' COMPLAINT
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1                                 COUNT II: NEGLIGENCE
2             83.   Plaintiffs incorporate by reference the allegations m all pno
3    paragraphs.
4             84.   Although Defendant had a duty to use reasonable care in testing
5 developing, designing, manufacturing, marketing, labeling, selling, distributing
6 promoting, and preparing written instructions and warnings for the AP AP Products
7    Defendant failed to do so.
 8            85.   Defendant, directly or indirectly, caused the APAP Products to be sold
 9 distributed, packaged, labeled, marketed, promoted, and/or used by Plaintiff Mother
1O   At all relevant times, Defendant registered, researched, manufactured, distributed
11   marketed, promoted, and sold the APAP Products within this district and aimed at
12   consumer market within this district.
13            86.   Defendant knew, or in the exercise of reasonable care should hav
14   known, that the APAP Products were defectively and unreasonably designed and/o
15   manufactured, and/or marketed, and were unreasonably dangerous and likely t
16   injure persons that were prenatally exposed to them. Defendant knew or should hav
17   known that Plaintiff Mother was unaware of the dangers and defects inherent in th
18   APAP Products when she was ingesting them during her pregnancy with Plaintif
19   Child.
20            87.   At all relevant times, Defendant had a duty to exercise reasonable car
21   in the marketing, advertisement, promotion, and sale of the APAP Products
22   Defendant's duty of care owed to consumers and the general public include
23   providing accurate, true, and correct information concerning the risks of using AP
24   during pregnancy and appropriate, complete, and accurate warnings concerning th
25   potential adverse effects of APAP and, in particular, the significantly increased ris
26   of causing neurodevelopmental disorders in children through prenatal exposure t
27   APAP.
28   III


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                                        PLAINTIFFS' COMPLAINT
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 1         88.    At all relevant times, Defendant knew or, in the exercise of reasonabl
2    care, should have known of the hazards and dangers of APAP ingestion whil
3 pregnant       and,   specifically,   the   significantly     increased risk   of causin
4    neurodevelopmental disorders in children through prenatal exposure to APAP.
 5         89.    Defendant failed to provide any kind of warning to pregnant consumers
6    like Plaintiff Mother, about the significantly increased risk of causin
 7   neurodevelopmental disorders in children through prenatal exposure to APAP.
 8         90.    Accordingly, at all relevant times, Defendant knew or, in the exercise
 9 of reasonable care, should have known that use of the APAP Products could cause
1o Plaintiffs' injuries, and thus, create a dangerous and unreasonable risk of injury to
11   the users of these products, including Plaintiffs.
12         91.    As such, Defendant breached its duty of reasonable care and failed t
13   exercise ordinary care in the design, research, development, manufacture, testing
14 marketing, labeling, supply, promotion, advertisement, packaging, sale, an
15   distribution of the APAP Products, in that Defendant manufactured and produce
16   defective APAP Products, which carry the significantly increased risk of causin
17   neurodevelopmental disorders in children through prenatal exposure to APAP; kne
18   or had reason to know of the defects inherent in the APAP Products; knew or ha
19 reason to know that a user's or consumer's use of the APAP Products created
20   significant risk of harm and unreasonably dangerous side effects; and failed t
21   prevent or adequately warn of these risks and injuries.
22         92.    Defendant had a duty to disclose the truth about the risks associate
23   with APAP in its promotional efforts outside of the context of labeling. Defendan
24   was negligent in its promotion of APAP outside of the labeling context by failing t
25   disclose material risk information as part of its promotion and marketing of th
26   APAP Products, including through the internet, television, and print advertisements
27   III
28   ///



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                                        PLAINTIFFS' COMPLAINT
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1          93.   Despite Defendant's ability and means to investigate, study, and tes
2    the APAP Products and to provide adequate warnings, Defendant failed to do so
3    Indeed, Defendant wrongfully concealed information and further made false and/o
4    misleading statements concerning the safety and use of APAP.
 5         94.   Defendant's negligence included:
6                a. Manufacturing, producing, promoting, formulating, creating
7                developing, designing, selling, and/or distributing the APAP Product
 8               while negligently and/or intentionally concealing and failing to disclos
 9               the results of trials, tests, and studies of APAP and the significant!
10               increased risk of causing neurodevelopmental disorders in childre
11               through prenatal exposure to APAP, and, consequently, the risk o
12               serious harm associated with human use of APAP during pregnancy;
13               b. Failing to undertake sufficient studies and conduct necessary tests t
14               determine whether or not the APAP Products were safe for its intende
15               consumer use and unborn children;
16               c. Failing to provide adequate instructions, guidelines, and safe
17               precautions to those persons Defendant could reasonably foresee woul
18               use the APAP Products;
19               d. Failing to disclose to Plaintiff Mother, users, consumers, and th
20               general public that use of APAP during pregnancy presents severe risk
21               of neurodevelopmental disorders in children exposed to APA
22               prenatally;
23               e. Failing to warn Plaintiff Mother, users, consumers, and the genera
24               public that the APAP Products' risk of harm was unreasonable and tha
25               there were safer and effective alternative medications or treatment
26               available to Plaintiff Mother and other users and/or consumers;
27               f. Representing that the APAP Products were safe for their intende
28               purposes for pregnant women when, in fact, Defendant knew or shoul


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 1                 have known the APAP Products were not safe for their intende
2                  purposes;
3                  g. Declining to make or propose any changes to the APAP Products'
4                  labeling or other promotional materials that would alert users
 5                 consumers, and the general public of the risks of APAP, including t
 6                 pregnant women;
 7                 h. Advertising, marketing, and recommending the use of the AP
 8                 Products, while concealing and failing to disclose or warn of th
 9                 dangers known by Defendant to be caused by the use of or exposure t
10                 APAP;
11                 i. Continuing to disseminate information to its consumers and th
12                 general public, which indicates or implies that the APAP Products ar
13                 not unsafe for pregnant consumer use; and
14                 j. Continuing the manufacture and sale of the APAP Products with th
15                 knowledge that the APAP Products were unreasonably unsafe an
16                 dangerous.
17         95.     Defendant knew and/or should have known that it was foreseeable tha
18   children such as Plaintiff Child would suffer injuries as a result of Defendant'
19   failure to exercise ordinary care in the manufacturing, marketing, labeling
20   distribution, and sale of the APAP Products to consumers, like Plaintiff Mother.
21         96.     Plaintiff Mother did not know the nature and extent of the injuries tha
22   could result in her child from the intended use of and/or exposure to AP
23   prenatally.
24         97.     Defendant's negligence was the proximate cause of Plaintiffs' injuries
25   i.e., absent Defendant's negligence, Plaintiff Child would not have developed ASD
26   III
27   III
28   ///


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                                       PLAINTIFFS' COMPLAINT
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1          98.     Defendant's conduct, as described above, was reckless. Defendan
2    regularly risked exposing Plaintiff Mother to the APAP Products while pregnan
3 with Plaintiff Child, with full knowledge of the dangers of the APAP Products an
4    that it could cause ASD in Plaintiff Child. Defendant made conscious decisions no
 5   to redesign, re-label, warn, or inform the unsuspecting public, including Plainti
6    Mother. Defendant's reckless conduct therefore warrants an award of punitiv
7    damages.
 8         99.     As a direct and proximate result of Defendant placing the defective
 9 APAP Products into the stream of commerce, Plaintiffs have suffered permanent
10   injuries, significant pain and suffering, emotional distress, lost wages and earning
11   capacity, and diminished quality of life. Plaintiffs respectfully seek all damages to
12   which they may be legally entitled.
13                 COUNT III: BREACH OF EXPRESS WARRANT¥
14         100. Plaintiffs incorporate by reference the allegations in all pno
15   paragraphs.
16         101. At all material times, Defendant manufactured, marketed, sold
17   distributed, and otherwise placed into the stream of commerce the APAP Products
18   These actions were under the ultimate control and supervision of Defendant.
19          102. In advertising, marketing, and promoting the APAP Products
20   consumers, like Plaintiff Mother, Defendant expressly warranted that the AP
21   Products were safe for use and reasonably fit for their intended purposes. I
22   advertising, marketing, and otherwise promoting the APAP Products, Defendan
23   intended for pregnant consumers to rely upon its representations regarding safe
24   and fitness, in an effort to induce them to purchase and consume the APAP Product
25   during pregnancy to relieve pain.
26          103. Defendant expressly warranted to Plaintiff Mother and pregnan
27   consumers that the APAP Products were safe for ingestion during pregnancy.
28   ///



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                                         PLAINTIFFS' COMPLAINT
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1            104. Defendant had a duty to exercise reasonable care in the research
2    development, design, testing, packaging, manufacture, inspection, labeling
3    distributing, marketing, promotion, sale, and release of the APAP Products
4    including a duty to:
 5                 a. ensure that the APAP Products did not cause users and their unbo
6                  children unreasonably dangerous side effects;
7                  b. warn of dangerous and potentially incurable side effects; and
 8                 c. disclose adverse material facts, such as the true risks associated
 9                 with the use of and exposure to APAP during pregnancy, when
10                 making representations to users, consumers, and the general public,
11                 including Plaintiff Mother.
12           105. Defendant had the ability to properly disclose the risks associated wit
13   APAP usage during pregnancy through multiple channels, not just labeling.
14           106. At all relevant times, Defendant expressly represented and warranted t
15   the purchasers of the APAP Products, by and through statements made by Defendan
16   in labels, publications, brochures, and other written materials intended fo
17   consumers and the general public, that the APAP Products were safe to human heal
18   and the environment, effective, fit, and proper for their intended use. Defendan
19   advertised, labeled, marketed, and promoted the APAP Products, representing th
20   quality to consumers and the public in such a way as to induce their purchases o
21   use, thereby making an express warranty that the APAP Products would conform t
22   the representations.
23           107. The representations about the APAP Products, as set forth herein
24   contained or constituted affirmations of fact or promises made by the seller to th
25   buyer, which related to the goods and became part of the basis of the bargain
26   creating an express warranty that the goods would conform to the representations.
27   ///

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 1         108. Defendant breached express representations and warranties made t
2    Plaintiff Mother, with respect to the APAP Products, including the following:
3             a. Defendant represented through its labeling, advertising, and marketin
4             materials that the APAP Products were safe, and intentionally withhel
 5            and concealed information about the risks of serious injury associated wi
6             use of APAP and by expressly limiting the risks associated with use wit
 7            its warnings and labels; and,
 8            b. Defendant represented that the APAP Products were safe for use an
 9            intentionally concealed information that demonstrated that APAP carrie
10            the significantly increased risk of causing neurodevelopmental disorder
11            in children through prenatal exposure to APAP, and that the AP
12            Products, therefore, were not safer than alternatives available on th
13            market.
14         109. Plaintiff Mother detrimentally relied on the express warranties an
15   representations of Defendant concerning the safety and/or risk profile of APAP ·
16   deciding to purchase the APAP Products. Plaintiff Mother reasonably relied upo
17   Defendant to disclose known defects, risks, dangers, and side effects of APAP.
18   Plaintiff Mother would not have purchased or used the APAP Products ha
19   Defendant properly disclosed the risks associated with the APAP Products,
20   either through advertising, labeling, or any other form of disclosure.
21         110. Plaintiff Mother had no knowledge of the falsity or incompleteness of
22   Defendant's statements and representations concerning the APAP Products.
23         111. Plaintiff Mother used and/or was exposed to APAP as researched
24   developed, designed, tested, manufactured, inspected, labeled, distributed
25   packaged, marketed, promoted, sold, or otherwise released into the stream o
26   commerce by Defendant.
27   III
28   III


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1          112. Had the warnings, labels, advertisements, or promotional material fo
2    the APAP Products accurately and adequately set forth the true risks associated wit
3    the use of such Products, including Plaintiffs' injuries, rather than express!
4    excluding such information and warranting that the APAP Products were safe fo
5    their intended use, Plaintiffs could have avoided the injuries complained of herein.
6          113. As a direct and proximate result of Defendant's breach of expres
7    warranty, Plaintiffs have suffered permanent injuries, significant pain and suffering
 8   emotional distress, lost wages and earning capacity, and diminished quality of life
 9   Plaintiffs respectfully seek all damages to which they may be legally entitled.
10                 COUNT IV: BREACH OF IMPLIED WARRANTY
11         114. Plaintiffs incorporate by reference the allegations in all pno
12   paragraphs.
13         115. At all material times, Defendant manufactured, marketed, sold
14   distributed, and otherwise placed the APAP Products into the stream of commerce.
15         116. At all material times, Defendant intended for the APAP Products to be
16   consumed and ingested by pregnant women, like Plaintiff Mother; and Defendant
17   impliedly warranted that the APAP Products and their component parts were of
18   merchantable quality, safe, fit for such use, and adequately tested.
19          117. Defendant was aware that consumers, including Plaintiff Mother
20   would consume and ingest the APAP Products as directed by the Products' label
21   and promotional materials. Therefore, Plaintiff was a foreseeable user of the AP
22   Products.
23          118. But Defendant failed to disclose that APAP has dangerous propensitie
24   when used as intended and that use of the APAP Products carries an increased ris
25   of developing severe injuries, including Plaintiff Child's injuries.
26          119. The APAP Products were expected to reach, and did in fact reac
27   consumers, including Plaintiff Mother, without substantial change in the conditio
28   in which they were manufactured and sold by Defendant.


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 1         120. Plaintiff Mother was an intended beneficiary of the implied warrantie
2    made by Defendant to purchasers of the APAP Products.
3          121. In reliance upon Defendant's implied warranties, Plaintiff Mother use
4 the APAP Products as indicated, and in the foreseeable manner normally intended
 5   recommended, promoted, and marketed by Defendant.
6          122. Defendant breached its implied warranties to Plaintiffs in that th
 7 APAP Products were not of merchantable quality, nor were they safe or fit for thei
 8 intended use or adequately tested.
 9         123. The harm caused by the APAP Products far outweighed their benefit
10   rendering the APAP Products more dangerous than an ordinary consumer or use
11   would expect and more dangerous than alternative products.
12         124. As a direct and proximate result of Defendant's breach of expres
13   warranty, Plaintiffs have suffered permanent injuries, significant pain and suffering
14   emotional distress, lost wages and earning capacity, and diminished quality of life.
15   Plaintiffs respectfully seek all damages to which they may be legally entitled.
16        COUNT V: VIOLATION OF CONSUMER PROTECTION LAWS
17         125. Plaintiffs incorporate by reference the allegations in all prior
18   paragraphs.
19         126. Plaintiff Mother purchased and used the APAP Products for primaril
20   personal use and pain relief during pregnancy, thereby suffering ascertainable losse
21   as a result of Defendant's actions in violation of the consumer protection laws.
22         127. Had Defendant not engaged in the deceptive conduct described in this
23   Complaint, Plaintiff would not have purchased and/or paid for the APAP Products,
24   and Plaintiffs would not have incurred related injury medical costs.
25         128. Defendant engaged in wrongful conduct while at the same
26   obtaining under false pretenses moneys from Plaintiff for the APAP Products. Thos
27   moneys would not have been paid had Defendant not engaged in unfair an
28   deceptive conduct.


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 1         129. Defendant engaged in the following unfair methods of competition o
2    deceptive acts or practices, which are proscribed by law:
 3                A. representing that goods or services have characteristics, ingredients
4                 uses, benefits, or qualities they do not have;
 5                B. advertising goods or services with the intent not to sell them a
 6                advertised; and
 7                C. engaging in fraudulent or deceptive conduct creating a likelihood of
 8                confusion or misunderstanding.
 9         130. Plaintiffs were injured by the cumulative nature of Defendant'
1O   conduct. The cumulative effect, directed at patients, physicians, and consumers, wa
11   to create demand for and sell the APAP Products. Each aspect of Defendant'
12   conduct combined to artificially create sales of the APAP Products.
13         131. Defendant had a statutory duty to refrain from unfair or deceptive act
14   or trade practices in the design, labeling, development, manufacture, promotion, an
15   sale of the APAP Products.
16         132. Defendant's deceptive, unconscionable, or fraudulent representation
17   and material omissions to consumers, including Plaintiff Mother, constitute unfai
18   and deceptive acts and trade practices in violation of the federal and state consume
19   protection statutes listed below.
20          133. Defendant's actions, as complained of in this Complaint, constitut
21   unfair competition or unfair, unconscionable, deceptive, or fraudulent acts or trad
22   practices in violation of the federal and state consumer protection statutes liste
23   below.
24            134. Defendant has engaged in unfair competition, or unfair or deceptiv
25   acts or trade practices, or has made false representations under the following statutes
26                • 15 u.s.c. §§ 2301-12 (1982);
27                • Cal. Civ. Code §§ 1770 et seq.; and
28                •Cal.Bus. & Prof. Code§§ 17200 et seq.


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 1            135. To protect consumers against unfair, deceptive, fraudulent, an
2    unconscionable trade and business practices, and false advertising, Defendant, as th
 3   supplier, manufacturer, advertiser, and seller, is subject to liability under the abov
4    legislation enacted against unfair, deceptive, fraudulent, and unconscionabl
 5   consumer sales practices.
 6            136. By knowingly and falsely representing that the APAP Products were fi
 7   to be used for the purposes for which they were intended-when in fact they wer
 8   defective and dangerous-and by other acts alleged, Defendant violated the abov
 9   statutes, enacted to protect consumers against unfair, deceptive, fraudulent, an
10   unconscionable trade and business practices, and false advertising.
11            137. Defendant's actions and omissions are uncured or incurable, deceptiv
12   acts under the above legislation.
13            138. Defendant had actual knowledge of the defective and dangerou
14   conditions of the APAP products but failed to take any action to cure such defectiv
15   and dangerous conditions.
16            139. Plaintiff Mother relied upon Defendant's misrepresentations and
17   omissions in determining which APAP Products (if any) to ingest.
18            140. Defendant's deceptive, unconscionable, or fraudulent representations
19   and material omissions to consumers constituted unfair and deceptive acts and
20   practices.
21            141. By reason of the unlawful acts in which Defendant engaged, and as a
22   direct and proximate result thereof, Plaintiffs have suffered ascertainable losses
23   and damages.
24            142. As a direct and proximate result ofDefendant's violations of the above
25   listed legislation, Plaintiffs have sustained economic losses and other damages an
26   are entitled to statutory and compensatory damages in an amount to be proven a
27   trial.
28   // /



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 1                 COUNT VI: NEGLIGENT MISREPRESENTATION
2            143. Plaintiffs incorporate by reference the allegations in all
3    paragraphs.
4            144. Defendant had a duty to accurately and truthfully represent t
 5   consumers, including Plaintiff Mother, and the public that the APAP Products ha
 6   not been adequately tested and found to be a safe and effective treatment for pregnan
 7   women. Defendant breached that duty as its representations were false.
 8           145. Defendant failed to exercise ordinary care in the representation
 9 concerning the APAP Products while Defendant was involved in its manufacture
10   sale, testing, quality assurance, quality control, and distribution in interstat
11   commerce, because Defendant negligently misrepresented the APAP Products' hi
12   risk of unreasonable and dangerous adverse side effects.
13           146. Defendant also breached its duty in representing to Plaintiff Mother tha
14 the APAP Products had no serious side effects when ingested during pregnancy.
15           147. As a foreseeable, direct, and proximate result of Defendant's negligen
16   misrepresentations, Defendant knew or had reason to know that the APAP Product
17   had been insufficiently tested or had not been tested at all; and that they lacke
18   adequate and accurate warnings, and created a high risk, or a higher than acceptabl
19   reported and represented risk, of adverse side effects. Those side effects includ
20   neurodevelopmental disorders in children, such as ASD.
21           148. As a direct and proximate result of Defendant's breach of expres
22   warranty, Plaintiffs have suffered permanent injuries, significant pain and suffering
23   emotional distress, lost wages and earning capacity, and diminished quality of life.
24   Plaintiffs respectfully seek all damages to which they may be legally entitled.
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 1                                PUNITIVE DAMAGES
2          149. Plaintiffs incorporate by reference the allegations m all
 3 paragraphs.
4          150. Defendant failed to adequately test and study the APAP Products t
 5   determine and ensure that the APAP Products were safe and effective prior t
 6   releasing them for sale for human consumption.
 7         151. Further, Defendant continued to manufacture and sell the APA
 8 Products after obtaining knowledge and information that they were defective an
 9 unreasonably unsafe in that they did not include adequate warnings.
10         152. Defendant was aware of the probable consequences of the dangerou
11   and defective product, including the risk of neurodevelopmental disorders ·
12   children, such as ASD, when they suffered prenatal exposure.
13         153. At all material times, Defendant knew or should have known that th
14   APAP Products were inherently dangerous with respect to the following: the risk o
15   neurodevelopmental disorders in children, such as ASD, when they suffered prena
16   exposure; pain and suffering; loss of life's enjoyment; and unsuccessful treatment
17   to cure the conditions proximately related to the use of the APAP Products, as we!
18   as the other permanent and lasting severe personal injuries.
19         154. Defendant's misrepresentations included knowingly withholdin
20   material information from consumers and the public, including Plaintiff Mother
21   concerning the safety and efficacy of the APAP Products, which deprived Plaintif
22   Mother of vitally necessary information with which to make a fully informe
23   decision about whether to use the APAP Products.
24         155. At all material times, Defendant also knew and recklessly and/o
25   intentionally disregarded the fact that the APAP Products can cause debilitating an
26   life-altering side effects with greater frequency than safer alternative methods
27   products, and/or treatments. But Defendant recklessly failed to advise the medica
28   community and the general public, including Plaintiff Mother, of that fact.


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 1          156. At all material times, Defendant intentionally misstated an
 2   misrepresented data; and Defendant continues to misrepresent data so as to minimiz
 3   the perceived risk of injuries and the rate of complications caused by or associate
 4   with the APAP Products.
 s          157. Notwithstanding the foregoing and the growing body ofknowledge an
 6   information regarding the true and defective nature of the APAP Products, with thei
 7   increased risk of side effects and serious complications, Defendant continues t
 8   aggressively market the APAP Products to consumers, including the pregnan
 9 community at large, without disclosing the true risk of the complications and sid
10   effects.
11          158. When Plaintiff Mother consumed the APAP Products and since then
12   Defendant has known the APAP Products were defective and unreasonabl
13   dangerous without an adequate warning. But Defendant continued to manufacture
14   produce, assemble, market, distribute, and sell the APAP Products to the pregnan
1s   community so as to maximize sales and profits at the expense of the health and safe
16   of expecting mothers in a conscious, reckless, and/or intentional disregard of th
17   likely and foreseeable harm caused by the APAP Products to members of the
18   public, including Plaintiffs.
19          159. At all material times, Defendant has concealed and/or failed to disclos
20   to the public the serious risks and the potential complications associated with th
21   APAP Products, so as to ensure continued and increased sales and profits and to th
22   detriment of the public, including Plaintiffs.
23          160. Defendant's acts and omissions are of such character and nature so a
24   to entitle Plaintiffs to an award of punitive damages in accordance with applicabl
25   statutory and common law. Defendant's conduct shows willful misconduct, malice
26   fraud, wantonness, oppression, or that entire want of care, raising the presumptio
27   of conscious indifference to consequences, thereby justifying an award of punitiv
28   damages.


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 1         WHEREFORE, Plaintiffs demand judgment against Defendant individually
 2   and jointly and severally. Plaintiffs also request compensatory damages, punitiv
 3 damages, or enhanced compensatory damages, together with interest, costs of suit
 4   attorneys' fees, and such further relief as the Court deems equitable and just.
 5                                PRAYER FOR RELIEF
 6         Plaintiffs demand judgment against Defendant, individually, and jointly an
 7   severally, and prays for the following relief in accordance with applicable law an
 8 equity:
 9         i. Compensatory damages to Plaintiffs for past, present, and future damages,
1o   including pain and suffering for severe and permanent personal injuries sustained b
11   Plaintiffs, permanent impairment, mental pain and suffering, loss of enjoyment o
12   life, health and medical care costs, economic damages, together with interest an
13   costs as provided by law;
14         ii. Restitution and disgorgement of Defendant's profits;
15         iii. Punitive or enhanced compensatory damages;
16         iv. Reasonable attorneys' fees as provided by law;
17         v. Past and future costs of all proceedings;
18         vi. All ascertainable economic damages;
19         vii. Prejudgment interest on all damages as allowed by law; and
20         viii. Such other and further relief as this Court deems just and proper.
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 1                            DEMAND FOR JURY TRIAL
 2         Plaintiffs hereby demands a trial by jury on all issues so triable.
 3                                    Respectfully submitted,
 4   Dated: June 2, 2022              LAW OFFICE OF BALL & YORKE



                                      All~~#~
 5

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 7
                                      Brett D. Yorke, Esq.
 8
                                      Attorney for Plaintiff,
 9                                    Michelle Maguire individually and as Mother
10                                    General Guardian Of Derek Maguire

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18   III

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